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Page 1

WILLIAM E. BURGES, et al. v. BANCORPSOUTH, INC.., et al.

NO. 3-14-1564

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
TENNESSEE, NASHVILLE DIVISION

2016 U.S. Dist. LEXIS 56802

April 28, 2016, Filed

SUBSEQUENT HISTORY: Vacated by, Remanded by,
Request granted In re BancorpSouth, Inc., 2016 U.S. App.
LEXIS 16936 (6th Cir., Sept. 6, 2016)

PRIOR HISTORY: Burges v. BancorpSouth, Inc., 2015
U.S. Dist. LEXIS 89822 (M.D. Tenn., July 10, 2015)

COUNSEL: [*1] For William E. Burges, Rose M.
Burges, Plaintiffs: Francis P. McConville, Jeremy A.
Lieberman, LEAD ATTORNEYS, Pomerantz LLP (NY
Office), New York, NY USA; Patrick V. Dahlstrom,
Patrick V. Dahlstrom, Pomerantz LLP (Chicago Office),
Chicago, IL USA; Paul Kent Bramlett, Robert P.
Bramlett, LEAD ATTORNEYS, Bramlett Law Offices,
Nashville, TN USA.

For Bancorpsouth, Inc., James D. Rollins, II, William L.
Prater, Defendants: Amy J. Eldridge, LEAD
ATTORNEY, K&L Gates LLP (DC Office),
Washington, DC USA; Jeffrey B. Maletta, LEAD
ATTORNEY, PRO HAC VICE, K&L Gates LLP,
Washington, DC USA; R. Bruce Allensworth, LEAD
ATTORNEY; Gail Vaughn Ashworth, Thomas Anderton
Wiseman, III, Wiseman Ashworth Law Group PLC,
Nashville, TN USA; Nicholas G. Terris.

For James v. Kelley, Defendant: Gail Vaughn Ashworth,
Thomas Anderton Wiseman, III, Wiseman Ashworth
Law Group PLC, Nashville, TN USA; Jeffrey B. Maletta,
PRO HAC VICE, K&L Gates LLP, Washington, DC
USA; Nicholas G. Terris.

Case 3:16-cv-02267 Document 39-1

Filed 10/24/16

For City of Palm Beach Gardens Firefighters Pension
Fund, Movant: Jack Reise, Maureen E. Mueller, Sabrina
E. Tirabassii LEAD ATTORNEYS, Robbins Geller
Rudman & Dowd LLP (Boca Raton Office), Boca Raton,
FL USA; Christopher M. Wood, Robbins [*2] Geller
Rudman & Dowd LLP (Boca Raton Office), Nashville,
TN USA; Pedro A. Herreras LEAD ATTORNEY,
Sugarman & Susskind, Coral Gables, FL USA; Jerry E.
Martin, Timothy L. Miles, Barrett Johnston Martin &
Garrison, LLC, Nashville, TN USA.

JUDGES: TODD J. CAMPBELL, UNITED STATES
DISTRICT JUDGE.

OPINION BY: TODD J. CAMPBELL

OPINION

MEMORANDUM

Pending before the Court is Lead Plaintiffs Motion
to Certify the Class, Appoint a Class Representative, and
Appoint Class Counsel (Docket No. 97). The Court heard
argument on the Motion on April 27, 2016. For the
reasons stated herein, Lead Plaintiffs Motion is
GRANTED.

INTRODUCTION

In this federal securities action, Plaintiffs allege that

Page 1 of 4 PagelD #: 422
Page 2

2016 U.S. Dist. LEXIS 56802, *2

Defendants made materially false and misleading
statements and omissions! regarding the Bank's
compliance with federal laws and concerning the Bank's
two pending acquisitions/mergers. Plaintiffs seek to
recover damages caused by Defendants' alleged
violations of the Securities Exchange Act and Rule 10b-5
promulgated thereunder.

1 To the extent the parties argue whether this is
an omissions case or not, the Court need not
resolve that issue but notes that, as it found
eatlier, if a company chooses to volunteer
information, its disclosure must be full and fair,
[*3] and courts may conclude that the company
was obliged to disclose additional material facts
to the extent that the volunteered disclosure was
misleading. Docket No. 72.

In its prior Order (Docket No. 72), the Court
dismissed Plaintiffs’ claims concerning alleged
"forward-looking statements" about what Defendants
anticipated and/or expected to happen with regard to the
two mergers, but it declined to dismiss Defendants’
affirmative representations that BancorpSouth, Inc. was
in compliance with banking laws when they knew it was
not.

Lead Plaintiff City of Palm Beach Gardens
Firefighters’ Pension Fund ("the Fund") asks the Court to
certify this matter as a class action pursuant to Rule 23(a)
and (b)(3) of the Federal Rules of Civil Procedure, to
appoint the Fund as the Class Representative, and to
approve its selection of Robbins Geller Rudman & Dowd
LLP as Class Counsel.

CLASS CERTIFICATION

In order to certify a class, the Court must be satisfied
that Plaintiffs have met the requirements of Rule 23 of the
Federal Rules of Civil Procedure.” A class action will be
certified only if the Court is satisfied that the
prerequisites of Rule 23(a) have been met and that the
action falls within one of the categories under Rule
23(b).3 Castillo v. Envoy Corp., 206 F.R.D. 464, 467-68
(M.D. Tenn. 2002). The burden of establishing that all
requirements have been satisfied is on the party [*4]
seeking class certification. Jd.

2 Rule 23(a) establishes four requirements for
class certification: (1) the class is so numerous
that joinder of all members is impracticable; (2)

Case 3:16-cv-02267 Document 39-1

Filed 10/24/16

there are questions of law or fact common to the
class; (3) the claims or defenses of the
representative parties are typical of those of the
class; and (4) the representative parties will fairly
and adequately protect the interests of the class.
Fed. R. Civ. P. 23(a).

3 Rule 23(b)(3), under which the Fund asks the
Court to certify the class, requires that the
questions of law or fact common to class
members predominate over any questions
affecting only individual members and that a class
action is superior to other available methods for
fairly and efficiently adjudicating the controversy.

Investors can recover damages in a private securities
fraud action only if they prove that they relied on the
defendants’ misrepresentation in deciding to buy or sell a
company's stock. Halliburton Co. v. Erica P. John Fund,
Inc., 134 S.Ct. 2398, 2405, 189 L. Ed. 2d 339 (2014). In
this case, Defendants contend that the Fund cannot show
that reliance is an issue common to the class.

In Basic Inc. v. Levinson, the Supreme Court held
that investors could satisfy the reliance requirement by
invoking a presumption that the price of stock traded in
an efficient market [*5] reflects all public, material
information - including material misrepresentations. "In
such a case, we concluded, anyone who buys or sells the
stock at the market price may be considered to have
relied on those misstatements." Basic, 485 U.S. 224, 108
S.Ct. 978, 99 L. Ed. 2d 194 (1988) (quoted in Halliburton
at 2405). This presumption is known as _ the
"fraud-on-the-market" presumption, and it is this
presumption and Defendants’ alleged rebuttal of it* which
are at issue on this Motion for Class Certification.

4 The Supreme Court also held that a defendant
could rebut the presumption in a number of ways.
Halliburton, 134 S.Ct. at 2405. Any showing that
severs the link between the alleged
misrepresentation and either the price received (or
paid) by the plaintiff, or his decision to trade at a
fair market price, will be sufficient to rebut the
presumption of reliance. Id. at 2408.

FRAUD ON THE MARKET PRESUMPTION

In order to demonstrate that the presumption of
reliance® applies in a given case, a plaintiff must show
that (1) the alleged misrepresentations were publicly
known, (2) they were material,® (3) the stock traded in an

Page 2 of 4 PagelD #: 423
Page 3

2016 U.S. Dist. LEXIS 56802, *5

efficient market, and (4) the plaintiff traded the stock
between the time the misrepresentations were made and
when the truth was revealed. Halliburton, 134 S.Ct. at
2408.

5 Without the presumption of reliance, a Rule
10b-5 suit cannot [*6] proceed as a class action
because each plaintiff would have to prove
reliance individually, so common issues would
not predominate over individual ones as required
by Rule 23(b)(3). Halliburton at 2416.

6 Even though materiality is a prerequisite for
invoking the presumption, the Supreme Court
held that it should be left to the merits stage of the
litigation because it does not bear on the
predominance requirement of Rule 23(b)(3).
Halliburton at 2416.

Defendants argue first that the Fund cannot show
that the misrepresentations at issue were publicly known.
The misrepresentations at issue herein were found in the
merger agreements, public documents which were
attached to public filings with the Securities and
Exchange Commission ("SEC"). Defendants assert, with
no citation to authority, that a showing that the alleged
misrepresentations are in the public domain falls short of
proof that they are publicly known. This Court disagrees.

Requiring a plaintiff to show that analysts, market
makers, market conduits and others knew of the
misrepresentations and relied thereon, as Defendants
suggest, would undercut the reason for the
fraud-on-the-market presumption in the first place.
Because of the fraud-on-the-market presumption, a
plaintiff is not required [*7] to show that members of the
public actually read and relied upon the alleged
misrepresentations. The Court finds that merger
agreements filed with the SEC are sufficiently public to
satisfy the Fund's obligation under the first element of the
presumption.

Defendants also contend that the Fund has not shown
that BancorpSouth's stock was traded in an efficient
market. A district court may consider five factors in
determining whether a security was traded on an efficient
market: (1) a large weekly trading volume; (2) the
existence of a significant number of reports by securities
analysts; (3) the existence of market makers and
arbitrageurs in the security; (4) the eligibility of the
company to file an S-3 Registration Statement; and (5) a
history of immediate movement of the stock price caused

Case 3:16-cv-02267 Document 39-1

Filed 10/24/16

by unexpected corporate events or financial releases.
Cammer v. Bloom, 711 F.Supp. 1264, 1286-87 (D. N.J.
1989); Bovee v. Coopers & Lybrand, 216 F.R.D. 596,
605 (S.D. Ohio 2003).

Defendants do not dispute that BancorpSouth's stock
was widely traded on the New York Stock Exchange
("NYSE") prior to, during and after the proposed class
period. Courts and commentators have noted that certain
markets, such as the NYSE, are particularly efficient. A
well-developed and impersonal market, such as the New
York Stock Exchange, [*8] will instantaneously
incorporate all publicly available information about a
given security into the market price of that security.
Bovee, 216 F.R.D. at 606 (citing cases). For purposes of
class certification, the Court finds that the Fund has
sufficiently carried its burden to show the Cammer
factors as to the efficiency of the market on which the
stock at issue was traded.7

7 Plaintiffs have filed the Report of Professor
Stephen P. Feinstein to support their contention
that BancorpSouth's stock was traded in an
efficient market. Defendants attack the credibility
of Professor Feinstein's methodology and
conclusions. For purposes of class certification,
the Court finds that Professor Feinstein's report is
sufficient.

Finally, Defendants argue that the alleged
misrepresentations had no price impact. In Halliburton,
the Court held that defendants must be afforded an
opportunity before class certification to defeat the
presumption through evidence that an _ alleged
misrepresentation did not actually affect the market price
of the stock. Halliburton, 134 S.Ct. at 2417.

Defendants argue that the proper focus is on the price
impact at the time of the alleged misrepresentations
themselves, not at the time of the later corrective
statement, but Halliburton [*9] says only that defendants
may present evidence that the misrepresentation did not
in fact affect the stock price, not that the price impact is
determined only at the time of the alleged
misrepresentations.® If, as alleged, the statements were
false when made, no one would expect the stock prices to
drop then. The price impact at the time the falsity was
revealed also reflects the impact of the alleged
misrepresentations; that is, the effect on the price once
the truth was revealed is significant.

Page 3 of 4 PagelD #: 424
Page 4
2016 U.S. Dist. LEXIS 56802, *9

8 The Halliburton passage quoted by Defendants | LLP as Class Counsel.
in their brief, page 18, does not limit the inquiry
to the stock price on the misrepresentation date CONCLUSION

only.
y For these reasons, Lead Plaintiff's Motion (Docket

CLASS REPRESENTATIVE AND CLASS COUNSEL No. [*10] 97) is GRANTED as set forth in the
accompanying Order.

The Court finds nothing improper about the Fund's
certification in this litigation, the manner in which the
Fund was notified by counsel pursuant to a portfolio
monitoring agreement, or the other objections Defendants

IT IS SO ORDERED.

/s/ Todd J. Campbell

raise to the selection of the Fund as a _Class TODD J. CAMPBELL
Representative in this case, including the retaining of
independent counsel. Defendants apparently do not object UNITED STATES DISTRICT JUDGE

to the appointment of Robbins Geller Rudman & Dowd

Case 3:16-cv-02267 Document 39-1 Filed 10/24/16 Page 4 of 4 PagelD #: 425
